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                         EXHIBIT 30
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      Attorneys for Defendants Automattic Inc. and
17    Matthew Charles Mullenweg
18                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
19
                                 SAN FRANCISCO DIVISION
20
      WPENGINE, INC., a Delaware corporation,        Case No. 3:24-cv-06917-AMO
21
                     Plaintiff,                      MANUAL FILING NOTIFICATION
22
            vs.                                      Exhibit 30 - Video recording of a portion of a
23
                                                     livestream show, posted to ThePrimeTime
24    AUTOMATTIC INC., a Delaware                    YouTube channel on September 26, 2024,
      corporation; and MATTHEW CHARLES               entitled “The WordPress Situation Is Wild”
25    MULLENWEG, an individual,

26                   Defendants.                     Judge: Hon. Araceli Martinez-Olguin
27

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                                                                           Case No. 3:24-cv-06917-AMO
                                     MANUAL FILING NOTIFICATION
     Case 3:24-cv-06917-AMO          Document 37-35          Filed 10/30/24    Page 3 of 3




 1                                MANUAL FILING NOTIFICATION

 2          Regarding: Exhibit 30 to Defendants’ Request for Judicial Notice in support of Defendants’

 3 Special Motion to Strike.

 4

 5          This filing is in paper or physical form only, and is being maintained in the case file in the

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16

17
     Dated: October 30, 2024                   By: /s/ Michael M. Maddigan
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                                                     -1-                       Case No. 3:24-cv-06917-AMO
                                       MANUAL FILING NOTIFICATION
